IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CARO
(GREENSBORO DIVISION)

UNITED STATES OF AMERICA,

Plaintiff,

Case No. 12-CR-00039-WO-1

Vv.

DONAVON DEWAYNE CRAWFORD,

(6) 6GP GOR CGR UGA GOD COR Ga OGD

Defendant.

Comes now, Donavon Dewayne Crawford, the undersigned defendant, appearing in a pro
se capacity', pursuant to 18 U.S.C. § 3582(c)(1)(A) and the First Step Act of 2018, respectfully
moves the court for a sentence reduction and/or compassionate release for the extraordinary and
compelling reasons presented herein.

INTRODUCTION

United States Code Title 18, Section 3582(c)(1)(A), as amended by the First Step Act and
in pertinent part, provides that the court may not modify a term of imprisonment once it has been

imposed except that:

‘Tn light of his pro se status, Crawford respectfully asks the Court to give this motion a liberal construction in
accordance with the doctrine articulated by the Supreme Court in Haines v. Kerner, 404 U.S. 519 (1972).

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(A) the court, upon motion of the Director of the Bureau of Prisons, or upon
motion of the defendant after the defendant has fully exhausted all administrative
rights to appeal a failure of the Bureau of Prisons to bring a motion on the
defendant's behalf or the lapse of 30 days from the receipt of such a request by the
warden of the defendant's facility, whichever is earlier, may reduce the term of
imprisonment (and may impose a term of probation or supervised release with or
without conditions that does not exceed the unserved portion of the original term
of imprisonment), after considering the factors set forth in section 3553(a) to the
extent they are applicable, if it finds that -

(i) extraordinary and compelling reasons warrant such a reduction... .

In addition to satisfying the above, the court must consider the applicable factors set forth
in section 3553(a) and the reduction must be “consistent with [the] applicable policy statement
issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1). However, “the Commission has
yet to issue a policy statement that applies to motions filed by defendants [rather than motions
filed by BOP] under the recently amended § 3582(c)(1)(A) .” United States v. Burnell, 837
Fed.Appx. 223, 224 (4th Cir. 2021) (quoting United States v. McCoy, 981 F.3d 271, 280-83 (4th
Cir, 2020)). Therefore, a court may “consider any extraordinary and compelling reason for
release that a defendant might raise.” AécCoy, 981 F.3d at 284.

“A defendant seeking compassionate release has the burden of establishing that such
relief is warranted.” United States v. Weaver, No. 1:17-CR-235, 2020 WL 4810123 (E.D. Va.
Aug. 18, 2020) (citing Schaffer ex rel. Schaffer v. Weast, 546 U.S. 49, 56-57(2005) (defendant

bears burden as party seeking relief absent statutory guidance to the contrary)). Compassionate

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release is “an extraordinary and rare event.” White v. United States, 378 F.Supp.3d 784,
787 (W.D. Mo. 2019). | Crawford was sentenced, in the case at bar, to a term of 262 months’
imprisonment. (Dkt. # 24).?

Crawford’s sentence was driven, inter alia, by the career offender enhancement lawfully
applicable at the time of his original sentencing. During the more than 10-years that have lapsed
since Mr. Crawford’s original sentencing, a lot of things have changed. Mr. Crawford’s view
and attitude reflect that he has taken this time to better himself and taken the steps which will
help prepare him to be a productive law abiding citizen upon his release from prison.

Crawford submitted a request for a reduction in sentence and/or compassionate release to
the warden of the Oklahoma City Federal Transfer Center on December 27, 2021.7 More than 30
days have lapsed since the submission of Crawford’s request and he has not received a response.
Wherefore, this court has jurisdiction to entertain this motion and make a final determination on
the merits thereof.

If Crawford were to be sentenced by the court today for his instant offenses, his
sentencing guideline range would be 130-147 months; considering the fact he would no longer
be subject to the career offender enhancement. Crawford’s erroneously enhanced career offender
sentence produces an unwarranted sentencing disparity under § 3553(a)(6) and this court should

exercise its discretion to grant this motion and correct this injustice.

? References to the record are indicated as follows: (Dkt. # ) refers to Crawford’s underlying criminal docket
Number 12-CR-00039-WO-1, followed by the appropriate docket entry number(s).

3 In an abundance of caution, Crawford obtained a photo copy of his request which is being submitted with this motion
as documentary evidence thereof. (SEE EXHIBIT # 1)

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L Procedur ckgro

On February 27, 2012, a federal grand jury sitting in and for the Middle District of North
Carolina returned an eight count indictment against Crawford, charging him with: possession
with intent to distribute 24 grams of cocaine base, in violation of 21 U.S.C. §§ 841(a)(1) and
(b)(1)(C) (Count One); maintaining a house for purpose of distributing a controlled substance in
violation of 21 U.S.C. §§ 856(a)(1) and (b) (Count Two); possession of a firearm in furtherance
of a drug trafficking offense, in violation of 18 U.S.C. § 924(c) (Count Three); convicted felon in
possession of a firearm, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2) (Count Four);
distribution of two grams of cocaine base, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C)
(Count Five); maintaining a house for purpose of distributing a controlled substance in violation
of 21 U.S.C. §§ 856(a)(1) and (b) (Count Six); brandishing a firearm in furtherance of a drug
trafficking offense in violation of 18 U.S.C. § 924(c)(1)(A)(Git) (Count Seven); and felon in
possession of a firearm in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2). (Dkt. # 1)

On May 9, 2012 Crawford entered a plea of guilty pursuant to a written plea agreement.
(Dkt. ## 18, 19).

On November 21, 2012 the Court sentenced Crawford to an aggregate term of 262
months’ imprisonment and five years supervised release. (Dkt. # 24).

Crawford sought appellate review from the Fourth Circuit Court of Appeal. The Fourth
Circuit affirmed judgment of the district court on January 24, 2014. (Dkt. ## 35, 36, 37)

H. — Relevant Facts,

Crawford was sentenced under the career offender guideline, pursuant to USSG § 4B1.1.

This enhancement was based on, inter alia, Crawford’s prior state of North Carolina conviction

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for assault inflicting serious bodily injury. Crawford’s assault conviction was determined to be a
crime of violence under the now voided residual clause of the USSG.

Subsequent to the Supreme Court’s-holding in Johnson v. United States, 135 S. Ct. 2551
(2015), the United States Sentencing Commission (USSC) revised the Sentencing Guidelines
Manual, in response thereto, removing the residual clause “crime of violence” definition which
was determined by the Supreme Court to be unconstitutionally vague in violation of due process.

This change in the definition of crime of violence has caused ripple effects in courtrooms
across the country; with numerous defendants seeking and obtaining relief from their erroneously
enhanced sentences. The court is charged with imposing sentences that are sufficient but not
more than necessary to comply with the § 3553 factors. One of the main § 3553 factors instructs
courts to “the need to avoid unwarranted sentence disparities among defendants with similar
records who have been found guilty of similar conduct.” § 3553(a)(6).

If Crawford were to be sentenced today for his offenses of conviction, he would not face
the extreme enhancement as a career offender; as he does not have the necessary violent prior
convictions to lawfully sustain such an enhancement. In consequence, someone sentenced today
for the same exact crimes as Crawford would be sentenced to an advisory guideline range of

130-147 months’ imprisonment.

At the time of Crawford’s sentencing, he was sentenced pursuant to the “career offender”
guideline. Under the then-applicable sentencing guidelines, crimes of violence included “any
offense under federal or state law” that “involve[s] conduct that presents a serious potential risk of

physical injury to another.” See USSG § 4B1.1(a).

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The language used to categorize Crawford’s prior state conviction for assault inflicting
serious bodily injury under N.C. Gen. Stat. as a “crime of violence,” the so called “residual
clause,” was once the subject of a considerable amount of litigation; swamping the courts with
cases year-after-year.

Finally, the Supreme Court in Johnson v. United States, held the definition to be
unconstitutional and voided the “residual clause” altogether. 135 S. Ct. 2551 (2015). The
Sentencing Commission revised the definition of "crime of violence " in § 4B1.2(a), leaving the
“force clause" unchanged but removing the so-called "residual clause" and adding in its place a
number of enumerated offenses, including "aggravated assault ." See U.S.S.G. Supp. to App. C,
Amend. 798 (eff. Aug. 1, 2016).

Because North Carolina assault inflicting serious bodily injury can be committed with
a mens rea of "culpable negligence,” it does not require the type of purposeful conduct necessary
to satisfy the "force clause" used to define "crime of violence " in U.S.S.G. § 4B1.2(a)(1) (defining
"crime of violence" to include any felony offense that "has as an element the use, attempted use,
or threatened use of physical force against the person of another").

North Carolina law establishes that "[a] defendant ... must be charged with culpable
negligence to be convicted on a culpable negligence standard," citing State v. Stevens , 228
N.C.App. 352 (2013), and State v. Hines ,166 N.C.App. 202, 600 S.E.2d 891, 896 (2004).
Furthermore, United States v. Barcenas-Yanez , 826 F.3d 752 (4th Cir. 2016), established that the
generic version of "the now-enumerated offense of ‘aggravated assault’ " in revised § 4B1.2(a)
also requires a mens rea greater than "recklessness." Id.

Under binding Fourth Circuit precedent, a crime of violence, for purposes of section

4A1.2(a) requires violent force, or "force capable of causing physical pain or injury to another

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person." Aparicio-Soria, 740 F.3d at 154-55 (quotation omitted). This definition of violent force
"specifically excludes from consideration ‘the slightest offensive touching.” Id. (quotation
omitted).

In Johnson f, the Supreme Court discussed in great detail the distinction between the
physical force needed for a "violent felony" vis-a-vis a "common-law misdemeanor." Johnson
E559 U.S. at 140-42. The Johnson I Court noted that the "specialized meaning that ['force'] bore
in the common-law definition of battery" consisted of "the intentional application of unlawful force
against the person of another," including “the slightest offensive touching.” Id.at 139. The Court
rejected this application within the confines of the ACCA because of "the statutory category of
‘violent felonies" and held that the ACCA required "violent force." Id. at 140 (alteration omitted).
The Fourth Circuit then adopted the Johnson I Court's force threshold for purposes of section
2L1.2(b)(1)(A) because "the language of the force clause in the [ACCA] and the reentry Guideline
is identical." Aparicio-Soria, 740 F.3d at 154. --------

The three means of accomplishing a criminal assault under North Carolina law are (1) an
attempted battery, (2) a show of violence, or (3) a completed battery. Vinson, 2015 WL
4430889, at *4. Under North Carolina law, battery is "an assault whereby any force, however
slightis actually applied to the person of another directly or indirectly." State v.
Sudderth, 184 N.C. 753, 114 S.E. 828, 829 (1922) (emphasis added, quotation omitted); see State
v. Hefner, 199 N.C. 778, 155 S.E. 879, 881(1930) ("[A] battery, which is the unlawful application
of force to the person of another by the aggressor himself... ."); State v. Thompson, 27 N.C. App.
576, 577-78, 219 S.E.2d 566, 568(1975) (same).

Accordingly, a battery, whether completed or attempted, is not a "crime of violence"

because it may be accomplished without the use of violent force. Lastly, an assault by a show of

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violence, likewise does not require the use of violent force. Premises considered, Crawford’s
conviction for assault inflicting serious bodily injury is not a crime of violence. See Vinson, 2015
WL 4430889, at *4 (explaining elements of the three means of accomplishing assault) ; Aparicio-
Soria, 740 F.3d at 154.

Without the necessary predicate crimes of violence to sustain his career offender
designation, Mr. Crawford’s sentencing guideline range would be 130-147 months’ imprisonment.
As of today’s date, Crawford has served more than ten years in federal custody. When taken into
consideration and in combination with the fact that his continued incarceration stands to serve no
purpose other than to inflict an unwarranted sentencing disparity, the court should grant this motion
and reduce Crawford’s term of imprisonment.

i. 553fa) Factor: iF 2 ji fF ;

Upon a finding by the Court that extraordinary and compelling reasons exist that
warrant a sentence reduction, it must then consider the applicable § 3553(a) factors to

determine the appropriate degree of reduction. These factors are:

(a) Factors To Be Considered in Imposing a Sentence.— The court shall impose a
sentence sufficient, but not greater than necessary, to comply with the purposes set forth
in paragraph (2) of this subsection. The court, in determining the particular sentence to be
imposed, shall consider—

(1) the nature and circumstances of the offense and the history and characteristics of the
defendant;
(2) the need for the sentence imposed—

(A) to reflect the seriousness of the offense, to promote respect for the law, and to
provide just punishment for the offense;

(B) to afford adequate deterrence to criminal conduct;

(C) to protect the public from further crimes of the defendant; and

(D) to provide the defendant with needed educational or vocational training, medical

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care, or other correctional treatment in the most effective manner;

(3) the kinds of sentences available;
(4) the kinds of sentence and the sentencing range established for—

(A) the applicable category of offense committed by the applicable category of defendant
as set forth in the guidelines—

(i) issued by the Sentencing Commission pursuant to section 994(a)(1) of title 28, United
States Code, subject to any amendments made to such guidelines by act of Congress
(regardless of whether such amendments have yet to be incorporated by the Sentencing
Commission into amendments issued under section 994(p) of title 28); and

(ii) that, except as provided in section 3742(g), are in effect on the date the defendant

is sentenced; or

(B) in the case of a violation of probation or supervised release, the applicable guidelines
or policy statements issued by the Sentencing Commission pursuant to section

994(a)(3) of title 28, United States Code, taking into account any amendments made to
such guidelines or policy statements by act of Congress (regardless of whether such
amendments have yet to be incorporated by the Sentencing Commission into
amendments issued under section 994(p) of title 28);

(5) any pertinent policy statement—

(A) issued by the Sentencing Commission pursuant to section 994(a)(2) of title 28,
United States Code, subject to any amendments made to such policy statement by act of
Congress (regardless of whether such amendments have yet to be incorporated by the.
Sentencing Commission into amendments issued under section 994(p) of title 28); and
(B) that, except as provided in section 3742(g), is in effect on the date the defendant is
sentenced. ,

(6) the need to avoid unwarranted sentence disparities among defendants with similar
records who have been found guilty of similar conduct; and

(7) the need to provide restitution to any victims of the offense.
18 U.S.C. § 3553.

These sentencing factors are very important in the court’s analysis when imposing a
sentence. Importantly, evidence of post-conviction rehabilitation is likely one of the most critical
and core considerations for the court in a § 3582 proceeding.

In Pepper v. United States, the Supreme Court emphasized the important nature of post-

sentence rehabilitation; stating that “there would be no better evidence than a defendant’s post

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incarceration conduct.” 562 U.S. 476 (2011). The Court further held, “post sentencing
rehabilitation may also inform a sentencing judge’s overarching duty under § 3553(a) to impose a
sentence sufficient, but not greater than necessary to comply with the sentencing purposes set forth
in § 3553(a)(2).” Id.

Sentencing criminal offenders should be fair and consistent. Similarly situated offenders
should receive similar sentences that do not rest on such vagaries as whether the statutes under
which they were previously prosecuted also proscribe less violent conduct.

The SRA places the avoidance of unwarranted disparity at the forefront of its directives to
both the courts and the Commission. Among the factors courts must consider in the imposition of
sentence is "the need to avoid unwarranted sentence disparities among defendants with similar
records who have been found guilty of similar conduct." While the statute expressly directs that
courts "shall" consider this objective in their sentencing decisions, the accompanying directives to
sentence within the applicable guideline range or depart from the range based on reasons stated on
the record, together with the provision for appellate review, are the SRA's principal means of
assuring that court sentencing decisions will further disparity reduction goals.

Furthermore, in keeping with the SRA's call for a progressive, evolving system of
sentencing guidelines and policy statements, the Sentencing Commission was expected to glean
important information from district court reasons for sentence and appellate court opinions that
could assist in the continuing process of amending and improving the guideline system. Concerns
for reasonable sentence uniformity, then, underlie both the day-to-day court application of the
guidelines and their further development through the amendment process, based on the growing

body of experience. Guideline amendments reflect this constant change in legal views.

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Review of the Commission's statutory charter similarly reveals that "avoiding unwarranted
sentencing disparities among defendants with similar records who have been found guilty of
similar conduct" is a principal purpose of the Commission. The Commission is specifically
directed, in crafting the guidelines and policy statements, to give "particular attention" to providing
certainty, fairness, and reasonable uniformity in sentencing of similar offenders who commit
similar crimes. At the same time, the SRA and its legislative history describe another central goal,
punishment proportionality and appropriate individualization of sentence, that operates in constant
tension with the objective of disparity avoidance. By prescribing a detailed guideline system that
takes into account the most important and commonly occurring offense and offender
characteristics, and by permitting courts to sentence outside the guidelines in cases with significant
atypical features, the SRA seeks to reconcile competing goals of proportionality and uniformity.

During Crawford’s custody within the FBOP, he has completed numerous programs and
classes. Crawford’s program participation and sincere desire to better himself is evident and
favors the court’s granting him a sentence reduction. Mr. Crawford has a supportive family that
is prepared to assist him with transitioning back into society.

Crawford does not dispute or attempt to downplay the fact that the crimes he committed
were very serious offenses. However, its noteworthy to point out the fact that reducing his term
of imprisonment to a term consistent with the legal landscape as it stands today would not be
diminishing the seriousness of his offenses; the court would merely be administering justice by
following Congress’ express directive to avoid unwarranted sentencing disparities.

The Court should reduce Crawford’s sentence to be in line with the applicable guideline
range of a person convicted and sentenced in federal court today. A sentence within the current

guideline range is entirely appropriate to fulfill the § 3553(a) factors’ important objectives.

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CONCLUSION — PRAYER FOR RELIEF
WHEREFORE, for the extraordinary and compelling reasons presented herein, Crawford
prays this Honorable Court will GRANT this motion and order him resentenced under the
appropriate guideline range under the Sentencing Guidelines without the inapplicable career
offender enhancement. Crawford further prays the court will grant him any other form of relief he

may be entitled to which the court deems just and appropriate.

papa oT ‘ Miz Respectfully submitted,

Donavon Dewayne Crawford —
Reg. No. 28354-057

OKC Federal Transfer Center

P.O. BOX 898801

OKC, OK 73189

Pro Se Defendant

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CERTIFICATE OF SERVICE
I, Donavon Dewayne Crawford, hereby certify that on this oa day of

, 2022, a true and correct copy of the foregoing document was

deposited in the Unfted States Mail with sufficient postage affixed thereon addressed to the

following:

Clerk, U.S. District Court

Middle District of North Carolina
324 West Market Street
Greensboro, NC 27401

Angela Hewlett Miller

Office Of U.S. Attorney

101 South Edgeworth Street, Fourth Floor
Greensboro, NC 27401

Vo Bh
Donavon Dewayne Crawford
Reg. No. 28354-057
OKC Federal Transfer Center
P.O. BOX 898801

OKC, OK 73189

Attachments: (Exhibit # 1) - FBOP Request To Staff

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BP-A0148 INMATE REQUEST TO STAFF cDFRM

JUNE 10

U.S, DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS

d Title of Staff Member)

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DISPOSITION:

Signature Staff Member Date

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Record Copy - File; Copyg- Fy e .

This form replaces BP-148.070 dated Oct a6
and BP-$148.070 APR 94

PELE IN SECTION 6 UNLESS APPROPRIATE FoR Pexabatty FOLDER SECTION 6

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